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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                         December 06, 2022
                        IN THE UNITED STATES DISTRICT COURT
                                                                                          Nathan Ochsner, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTO DIVISION




JAMES R. HALL                                     §
                                                  §
vs                                                §        CIVIL ACTION NO. 4:22-244 1
                                                  §
REVERSE MORTGAGE FUNDING, LLC                     §


                                   ORDER STAYING CASE


       Defendant/Counter-Plainiff Reverse Mortgage Funding, LLC has filled a Suggestion of

Bankruptcy (Doc. No. 10), stating that on November 30, 2022, Defendant Reverse Mortgage

Funding, LLC filed a voluntary petition under Chapter 11 of the United States Bankruptcy Code

under Case No. 22-11224-MFW in the United States Bankruptcy Court for the District of Delaware.

       When a bankruptcy petition is filed, an automatic stay operates as a self-executing injunction.

The stay prevents creditors from taking any collection actions against the debtor or the property of

the debtor's estate for pre-petition purposes. 11 U.S.C. § 362(a). It is therefore

       ORDERED that this case is STAYED. All pending motions are DENIED as MOOT, but

may be summarily re-urged if the automatic stay is lifted .
                                                 .,.\"--
       SIGNED at Houston, Texas, this         &            day of December 2022.




                                                          ANDREWS. HANEN
                                                      UNITED STATES DISTRICT JUDGE
